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 6   ATTORNEY FOR Defendant,
     SAMUEL SANCHEZ
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                               ******

11   UNITED STATES OF AMERICA,                            Case No.: 1:17-CR-00065-DAD-BAM-1
12                  Plaintiff,                            AMENDED STIPULATION AND ORDER
13          v.                                            TO CONTINUE ARRAIGNMENT AND
                                                          COMPETENCY HEARING
14
                                                          Date: June 12, 2017
15   SAMUEL SANCHEZ,                                      Time: 2:00 p.m.
                                                          Courtroom: 5
16                  Defendant.                            Hon. Dale A. Drozd
17
18   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
19
20          Plaintiff, United States of America, by and through its counsel of record, and defendant,
21   by and through his counsel of record, hereby stipulate as follows:
22          1.      By previous order, this matter was set for An Arraignment and Competency
23   Hearing on June 12, 2017, at 2:00 p.m.
24          2.      By this stipulation, defendant now moves to continue the Arraignment and
25   Competency Hearing to August 7, 2017, at 2:00 p.m. and the exclude time between June 12,
26   2017, and August 7, 2017, under 18 U.S.C. §§ 3161(h)(1)(A), (h)(7)(A). Plaintiff does not
27   oppose this request.
28          3.      The parties agree and stipulate, and request that the Court find the following:



                                                         1
                                   STIPULATION AND ORDER TO CONTINUE HEARING
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 1                 a.      Additional time has been requested by the Warden at the Federal Bureau
 2          of Prisons Metropolitan Detention Center in Los Angeles to complete the Defendant’s
 3          evaluation.
 4                 b.      It is anticipated that the evaluation will be completed by June 12, 2017.
 5                 c.      The report shall be submitted to the court within three weeks of
 6          completion of the evaluation.
 7                 d.      The government does not object to the continuance.
 8                 e.      Based on the above-stated findings, the ends of justice served by
 9          continuing the case as requested outweigh the interest of the public and the defendant in
10          a trial within the original date prescribed by the Speedy Trial Act.
11                 f.      For the purpose of computing time under the Speedy Trial Act, 18
12          U.S.C. § 3161, et seq., within which trial must commence, the time period of June 12,
13          2017, to August 7, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C. §§
14          3161(h)(1)(A), (h)(7)(A) because it results from a continuance granted by the Court at
15          defendant’s request on the basis of the Court's finding that the ends of justice outweigh
16          the best interest of the public and the defendant in a speedy trial, and because of delay
17          resulting from a mental competency evaluation.
18          4.     Nothing in this stipulation and order shall preclude a finding that other
19   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
20   period within which a trial must commence.
21                                                           Respectfully submitted,
22   DATED:      June 1, 2017                          By: /s/Jeffrey A. Spivak
23                                                         JEFFREY A. SPIVAK
                                                           Assistant United States Attorney
24
25
26   DATED:      June 1, 2017                          By: /s/Anthony P. Capozzi
                                                           ANTHONY P. CAPOZZI
27
                                                           Attorney for Defendant SAMUEL
28                                                         SANCHEZ



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                                   STIPULATION AND ORDER TO CONTINUE HEARING
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 1                                                ORDER
 2          For reasons set forth above, the continuance requested by the parties is granted for good
 3   cause and time is excluded under the Speedy Trial Act from June 12, 2017, to August 7, 2017,
 4   based upon the Court’s finding that the delay results from a proceeding, specifically an
 5   examination, to determine the mental competency of the defendant and because the defendant
 6   requests a continuance and the Court finds that the ends of justice outweigh the public’s and
 7   defendant’s interest in a speedy trial. 18 U.S.C. §§ 3161(h)(1)(A), (h)(7)(A).
 8          The Arraignment and Competency Hearing as to the above named defendant are
 9   continued to August 7, 2017, at 2:00 p.m.
10
     IT IS SO ORDERED.
11
12      Dated:     June 2, 2017
                                                         UNITED STATES DISTRICT JUDGE
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                                   STIPULATION AND ORDER TO CONTINUE HEARING
                                          CASE NO.: 1:17-CR-00065-DAD
